Case 2:03-cr-20451-.]DB Document 34 Filed 05/31/05 Page 1 of 2 Page|D 34

IN THE UNITEI) STATES DISTRICT CoURT `
FoR THE wESTERN DISTRICT oF TENNESS§L;_E§§ §§ § §§§§ § . §,
WESTERN DIVISION ' '

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UNITED STATES OF AMERICA,

Plaintiff,
VS. NO. 03-20451
NICHOLAS MORROW,

Defendant.

 

ORDER GRANTING DEFENDANT’S MOTION
TO CONTINUE SUPPRESSION HEARING

 

This cause came on upon the motion of the Defendant to continue the Suppression
hearing set on May 31, 2005 at 1:30 p.m. For good cause shown, the Court hereby grants the

Defendant’S rnotion.-_#|_`\"~f""`¢l w-¢O-Q b'-M v~§-.`f\\-z W-¢Q )QE&\

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IT IS So oRDERED this § l day Of May, 2005.

 

. NIEL BREEN `
NI EI) sTATES I)ISTRICT JUDGE

Th\s doc\,ment entered on the docket sheet ln oorr:pllanca
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UNITED sTATE D"ISIC COURT - WESRNTE D'S'TRCT 0 TESSEE

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This notice confirms a copy of the document docketed as number 34 in
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Honorable J. Breen
US DISTRICT COURT

